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                                                                                   USDC SDNY
                        IN THE UNITED STATES DISTRICT COURT                        DOCUMENT
                      FOR THE SOUTHERN DISTRICT OF NEW YORK                        ELECTRONICALLY FILED
                                                                                   DOC #:
                                                                                   DATE FILED: 8/24/2021

 CG3 MEDIA, LLC and COREY
 GRIFFIN,
                                                       Civil Action No. 1:21-cv-04607-MKV
                Plaintiffs / Counter-Defendants,
                -v-
 BELLEAU TECHNOLOGIES, LLC,                                 PATENT CASE MANAGEMENT
                                                           PLAN AND SCH('8/,1*ORDER
                Defendant / Counter-Plaintiff.


MARY KAY VYSKOCIL, United States District Judge:

        Declaratory Judgment Plaintiffs and Counter-Defendants CG3 Media, LLC and Corey
Griffin (collectively “Plaintiffs”) and Defendant /Counter-Plaintiff Belleau Technologies, LLC,
(“Belleau”), (“Defendant”) hereby propose the following schedule for this matter. The parties
have attached to this proposed scheduling order a table summarizing their respective positions.

1.     The parties shall file a proposed joint protective order covering the treatment of
       confidential information no later than:

       Plaintiffs’ and Defendant’s Proposal: September 10, 2021

2.     Any party claiming patent infringement must serve on all parties a “Disclosure of
       Asserted Claims and Infringement Contentions” and other items required by Local Patent
       Rules 6 and 9 of the Southern District of New York no later than:

       Plaintiffs’ Proposal: October 8, 2021 (45 days after the Initial Scheduling Conference).
       Plaintiffs’ position is that the parties use the timeline specified in the Court’s Patent Case
       Management Plan and Scheduling Order, and Plaintiffs have calculated all deadlines in
       accordance with this plan.

       Defendant’s Proposal: Defendant proposes that Plaintiffs must produce all source code
       and technical documents relating to the structure, operation, and function of the products
       accused of infringement in this matter no later than September 30, 2021. Defendant must
       produce its Disclosure of Asserted Claims and Infringement Contentions no later than
       October 28, 2021. Under Defendant’s Proposal, the Disclosure of Asserted Claims and
       Infringement Contentions will include, in addition to the disclosures required by the
       Local Rules, claim charts identifying where each element of each asserted claim is found
       within each product accused of infringement.
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3.   Any party seeking a declaratory judgement that a patent is not infringed, is invalid, or is
     unenforceable must serve upon all parties its “Invalidity Contentions” required by Local
     Patent Rules 7, 8, and 9 of the Southern District of New York no later than:

     Plaintiff’s Proposal: October 8, 2021 (45 days after the Initial Scheduling Conference,
     in accordance with the Court’s Patent Case Management Plan and Scheduling Order).

     Defendant’s Proposal: Defendant proposes that Plaintiff must produce its Invalidity
     Contentions by October 28, 2021. Defendant proposes that the disclosure of Invalidity
     Contentions should include, in addition to the disclosures required by the Local rules:

     (a) limitation-by-limitation claim charts identifying where specifically in each alleged
     item of prior art each element of each asserted claim is found; (b) for contentions of
     obviousness, an explanation of motivation to combine the identified references; and (c) a
     detailed statement of any grounds of invalidity based on indefiniteness under 35 U.S.C. §
     112(2)/112(b), enablement or written description under 35 U.S.C. § 112(1)/112(a), or
     non-statutory patent matter under 35 U.S.C. §101, or any other basis.

4.   Any party opposing a claim of patent infringement must serve upon all parties its
     “Invalidity Contentions” required by Local Patent Rules 7 and 9 of the Southern District
     of New York no later than:

     Plaintiffs’ Proposal: November 22, 2021 (45 days after Disclosure of Asserted Claims
     and Infringement Contentions, in accordance with the Court’s Patent Case Management
     Plan and Scheduling Order).

     Defendant’s Proposal: See paragraph 3, which sets forth the deadline for parties that
     have filed actions seeking declaratory judgment of invalidity.

5.   The parties shall exchange proposed terms of claim elements for construction by:

     Plaintiffs’ and Defendant’s Proposal: December 2, 2021 (10 days after No. 4, in
     accordance with the Court’s Patent Case Management Plan and Scheduling Order).

6.   The parties shall exchange preliminary claim construction and extrinsic evidence by:

     Plaintiffs’ and Defendant’s Proposal: December 22, 2021 (20 days after No. 5, in
     accordance with the Court’s Patent Case Management Plan and Scheduling Order).

7.   The parties shall jointly file a Joint Disputed Claim Terms Chart as provided in Local
     Patent Rule 11 of the Southern District of New York on or before:

     Plaintiffs’ and Defendant’s Proposal: January 21, 2022 (60 days after No. 4, in
     accordance with the Court’s Patent Case Management Plan and Scheduling Order).

8.   The parties shall complete all discovery related to claim construction, including any
     depositions with respect to claim construction of any witnesses, by:



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      Plaintiffs’ and Defendant’s Proposal: January 21, 2022 (30 days after No. 6, in
      accordance with the Court’s Patent Case Management Plan and Scheduling Order).

9.    The parties shall appear for a case management conference on:
      Plaintiffs’ and Defendant’s Proposal: January 28, 2022 at 10:00 am (7 days after No.
      7, in accordance with the Court’s Patent Case Management Plan and Scheduling Order).
      If any party wishes to make a motion at this time, it should submit a pre-motion letter in
      accordance with the Court’s Individual Rules at least four days prior to this conference.

10.   The party asserting infringement, or the party asserting invalidity if there is no
      infringement issue present in the case, shall file an opening claim construction brief and
      all supporting evidence and testimony on or before:
      Plaintiffs’ and Defendant’s Proposal: February 21, 2022 (30 days after No. 8, in
      accordance with the Court’s Patent Case Management Plan and Scheduling Order). The
      opposing party shall file a response to the opening claim construction brief and all
      supporting evidence and testimony by:
      Plaintiffs’ and Defendant’s Proposal: March 23, 2022 (30 days from the filing of the
      opening brief, in accordance with the Court’s Patent Case Management Plan and
      Scheduling Order).
      The opening party shall file a reply solely rebutting the opposing party’s response by:
      Plaintiffs’ and Defendant’s Proposal: March 30, 2022 (7 days from filing of the
      response, in accordance with the Court’s Patent Case Management Plan and Scheduling
      Order).
      These submissions shall be submitted in accordance with the page limitations provided
      in the Court’s Individual Rule 4.A.iii.

11.   The parties shall jointly file a claim construction chart by:

                (a) Said chart shall have a column listing complete language of disputed claims
                    with disputed terms in bold type and separate columns for each party’s
                    proposed construction of each disputed term. The chart shall also include a
                    fourth column entitled "Court’s Construction" and otherwise left blank.
                    Additionally, the chart shall also direct the Court’s attention to the patent and
                    claim number(s) where the disputed term(s) appear(s).

                (b) The parties may also include constructions for claim terms to which they
                    have agreed. If the parties choose to include agreed constructions, each
                    party’s proposed construction columns shall state "[AGREED]" and the
                    agreed construction shall be inserted in the "Court’s Construction" column.



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              (c) The purpose of this claim construction chart is to assist the Court and the
                  parties in tracking and resolving disputed terms. Accordingly, aside from the
                  requirements set forth in this rule, the parties are afforded substantial latitude
                  in the chart’s format so that they may fashion a chart that most clearly and
                  efficiently outlines the disputed terms and proposed constructions.
                  Appendices to the Court’s prior published and unpublished claim construction
                  opinions may provide helpful guidelines for parties fashioning claim
                  construction charts.

       Plaintiffs’ and Defendant’s Proposal: April 6, 2022 (7 days after the reply in No. 10, in
       accordance with the Court’s Patent Case Management Plan and Scheduling Order).

12.    The Court will issue an order scheduling a claim construction hearing at the post-
       discovery conference.

13.    The parties are reminded that pursuant to SDNY Rule 10, each party that will rely on an
       opinion of counsel as part of a defense to a claim of willful infringement or inducement
       of infringement, or that a case is exceptional, must produce or make available for
       inspection and copying the opinion(s) and any other documents relating to the opinion(s)
       as to which attorney-client or work product protection has been waived as a result of such
       production no later than:

       Plaintiffs’ and Defendant’s Proposal: 30 days after the Court’s claim construction
       ruling

14.    The producing party shall serve a privilege log identifying any other documents, except
       those authored by counsel acting solely as trial counsel, relating to the subject matter of
       the opinion(s) which the party is withholding on the grounds of attorney-client privilege
       or work- product protection.

        This Order may not be modified or the dates herein extended, except by further Order of
this Court for good cause shown. Any application to modify or extend the dates herein shall be
made in a written application in accordance with the Court’s Individual Rules and shall be made
no less than two business days prior to the expiration of the date sought to be extended.

       Failure to comply with this order and the deadline stated herein may result in
sanctions, including preclusion of claims or defenses at trial.

       SO ORDERED.



               8/24/2021
       Date: ______________                          ________________________________
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Counsel for the Parties:

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